
PER CURIAM.
This is a companion case to that of Alston et al. v. State of Florida, 167 So.2d 628, opinion filed this date.
The briefs and the record on appeal having been read and given full consideration, and appellants having failed to demonstrate reversible error, the judgment of the lower court hereby appealed is affirmed. See State of Florida ex rel. Diamond Berk Insurance Agency, Inc. v. Carroll et al. (Fla.1958), 102 So.2d 129. Borland v. South Patrick Utility Corp. (Fla.App.1960), 122 So.2d 44.
CARROLL, DONALD K., Acting Chief Judge, and WIGGINTON and RAWLS, JJ., concur.
